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AO 442 (Rev. 10/13) Arrest Warrant

UNITED STATES DISTRICT COURT 399) yup! 2 PH 12: 25
for the
Northern District of Oklahoma

 

United States of America )
V. )
) Case No. 21-CR-102-CVE

oe __RENEE LYNN HAYNES ee ) F I L FE D

Defendant )
JUL 0.9 2021
ARREST WARRANT
Mark C. McCartt, Clerk
To: Any authorized law enforcement officer U.S. DISTRICT COURT

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) RENEE LYNN HAYNES,
who is accused of an offense or violation based on the following document filed with the court:

(] Indictment & Superseding Indictment © Information L) Superseding Information LJ Complaint

(J) Probation Violation Petition [) Supervised Release Violation Petition [J Violation Notice ([) Order of the Court

This offense is briefly described as follows:

21 ULS.C, §§ 841(a)(1) and 841(b)(1)(C) — Possession of Methamphetamine with Intent to Distribute
18 U.S.C. § 1952(a)(3) — Interstate Travel to Aid Racketeering
21 U.S.C. § 853, 18 U.S.C. § 981(a)(1)(C), and 28 U.S.C. § 2461 — Drug and Racketeering Forfeiture

Date: _ JUN 24 2021

 

L/ Issuing alijeer ’s signature

City and state: Tulsa, Oklahoma Mark McCartt, Court Clerk

Printed name and title

 

 

 

 

Return
This warrant was received on (date) E~24- tl , and the person was arrested on (dare) TP Pp -S/hp
At (city and state) ~Jy ! Sa 0k
Date: “Viet Que}

 

Si. Ve

Arresting officer's signature

Robert “Vode Dus
Prekecl up On Loteae Printed name and title

 

 

 

 

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